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                                                               By J. Baker at 5:23 pm, Dec 09, 2021




                                                         Esther Salas

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